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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

April Cosman,                              Case No. 0:21-cv-674-PAM/ECW

            Plaintiff,
                                            NOTICE OF SETTLEMENT
      vs.

JPMorgan Chase Bank, N.A.,

           Defendant.
________________________________________________________________________

      PLEASE TAKE NOTICE that all claims in the above-captioned action have

been settled.   Accordingly, the parties jointly request that the settlement

conference scheduled for August 10, 2021 [ECF No. 13] be cancelled. The parties

anticipate filing a Stipulation of Dismissal with Prejudice and Proposed Order

within the next 30 days, once the settlement agreement has been fully executed.



Dated: July 28, 2021                        WALKER & WALKER LAW
                                            OFFICES PLLC

                                            By: __s/ Kimberly Zillig___________
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Dated: July 28, 2021                     By: s/ Kristina H. Kaluza__________
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